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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,
            Plaintiff,

        vs.                                                     No. 07-10142-05-JTM

JASON TISDALE,
            Defendant.




                                MEMORANDUM AND ORDER




        On February 24, 2011, the defendant entered guilty pleas to Conspiracy to

Participate in a Racketeer Influenced and Corrupt Organization (RICO) and two

counts of Violent Crimes in Aid of Racketeering Activity. (Dkt. 1700). On May 12,

2011, the court sentenced Tisdale to a controlling term of imprisonment of 360 months,

and is currently scheduled to be released on November 20, 2032. (Doc. 1723). Tisdale

has filed now moved for compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A). In

support of his motion, Tisdale cites the dangers posed by the COVID-19 pandemic, and

his own physical conditions, which include hypertension and a torn tear duct in his left

eye.1




1The defendant has also moved to vacate his sentence under 28 U.S.C. § 2255. The court will address that
motion by separate order.
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       The defendant has the burden to show he should be released under § 3582.

United States v. Jones, 836 F.3d 896, 899 (8th Cir. 2016). Even if the defendant otherwise

shows that “extraordinary and compelling” reasons support a release, he must

demonstrate that such a result is consistent with the sentencing factors set out in 18

U.S.C. § 3553(a). The government here concedes (Dkt. 1969, at 14), and the court agrees,

that they defendant has a medical condition (hypertension) which could increase his

risk from serious injury in the event he contracts the COVID-19 virus. However, the

government also argues that release under § 3582 is not appropriate given the totality of

the circumstances of the case. The court reaches a similar conclusion.

       As noted above, compassionate release under § 3582 cannot be granted where

the result would be to radically depart from a permissible sentence under 18 U.S.C. §

3553(a). Those factors include (1) the defendant’s personal history and characteristics;

(2) his sentence relative to the nature and seriousness of his offenses; (3) the need for a

sentence to provide just punishment, promote respect for the law, reflect the

seriousness of the offense, deter crime, and protect the public; (4) the need for

rehabilitative services; (5) the applicable guideline sentence; and (6) the need to

avoid unwarranted sentencing disparities among similarly-situated defendants.

       Tisdale is serving a lengthy prison sentence for serious, violent criminal activity.

The defendant’s Plea Agreement (Dkt. 1700) details his participation in the

Neighborhood Crips gang, and his active involvement in the February 3, 1998 murder

of Tisha Jones and Keith James. At the time, Jones was scheduled to testify against

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another Crips member on a state robbery charge. Tisdale helped two other Crips gang

members murder Jones and James to prevent that testimony.

      On August 5, 2004, Tisdale participated in another Crips attack, this time on the

house of Umanah Smith, made in retaliation for a fight which had earlier erupted at a

Wichita nightclub. Crips members not only murdered Smith, they also shot and injured

two other persons at the house. Destiny Livingston was shot in the finger but she was

able to survive by laying down and playing dead. Kasseem Griegler was able to drag

himself into a nearby garage.

      Given the extreme violence underlying the defendant’s RICO convictions,

compassionate release is not warranted. Here, a time-served sentence would counteract

the public’s faith in the criminal justice system, and certainly betray the faith of the

victims of violent crime, like Tisha Jones, who have bravely stepped forward as

witnesses against the activity of violent criminal gangs. Under the circumstances of the

case, a time-served sentence would not reflect the seriousness of the offense, would not

provide for just punishment, and would undermine respect for the law.

      IT IS ACCORDINGLY ORDERED this 3rd day of August, 2020, that defendant’s

Motion for Compassionate Release (Dkt. 1966) is denied.




                                        J. Thomas Marten
                                        J. Thomas Marten, Judge



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